                                                    IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE NORTHERN DISTRICT OF OHIO
                                                              EASTERN DIVISION

                             LUIS ANGEL ALVAREZ ROMAN,                             :
                                                                                   :      CIVIL ACTION NO. 1:23-cv-02348
                                                           Plaintiff,              :
                                                                                   :      JUDGE PATRICIA A. GAUGHAN
                                    v.                                             :
                                                                                   :
                             CITY OF LORAIN, OHIO, ET AL.,                         :
                                                                                   :
                                                           Defendants.             :
   /s/ Patricia A. Gaughan




                                                            STIPULATION OF DISMISSAL
              2/3/25




                                    Plaintiff Luis Angel Alvarez Roman and the City of Lorain Defendants (including its
SO ORDERED.




                             individual defendants, James P. McCann, Marcus Rivera, and Christopher Colon), by and through

                             undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(ii), hereby stipulate that this Action

                             be dismissed with prejudice. Each party bears their own costs.

                                                                    Respectfully Submitted,

                              By:/s/ Joseph T. LaVeck                            /s/ Madeline J. Rettig
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